August 31, 2020

The Honorable Jesse M. Furman
United States District Court
Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     Status Report in State of New York v. Wolf, et al., 20 Civ. 1127 (S.D.N.Y.), and
               Lewis-McCoy v. Wolf, et al., 20 Civ. 1142 (S.D.N.Y.).

Dear Judge Furman,

         The parties respectfully write in response to the Court’s August 27, 2020 order requesting
that the parties update the Court on the status of their good-faith settlement negotiations. The
parties have worked diligently and in good faith but have not been able to reach a resolution on all
terms of a proposed consent judgment. Notwithstanding the parties’ continued efforts, consensual
resolution of these matters is not likely and continued deferral of action on Plaintiffs’ unopposed
motion for partial summary judgment appears unnecessary. Counsel for Defendants have been
informed that CBP is working to remediate the residual effects of the rescinded policy at issue in
this litigation.

                                      Respectfully submitted,

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